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                                 UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF NEVADA


In re: SUSY J. VALDESPIN                                                                                Case No.: 13-52342-BTB

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
William A. Van Meter, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to
11 U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 12/12/2013.
2) The plan was confirmed on 02/13/2014.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on 10/19/2017.
5) The case was completed on 03/29/2019.
6) Number of months from filing or conversion to last payment: 63.
7) Number of months case was pending: 67.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 110,205.00.
10) Amount of unsecured claims discharged without full payment: 187.00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:          $23,288.19
        Less amount refunded to debtor:                            $.00
 NET RECEIPTS:                                                                  $23,288.19

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                 $2,781.00
        Court Costs:                                                                 $.00
        Trustee Expenses and Compensation:                                     $1,732.95
        Other:                                                                       $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                $4,513.95

 Attorney fees paid and disclosed by debtor:              $1,500.00




 Scheduled Creditors:
Creditor                                                        Claim           Claim            Claim           Principal           Interest
Name                                         Class              Scheduled       Asserted         Allowed         Paid                Paid
AMERICAN INFOSOURCE LP AS AGENT FOR
                                Unsecured                         1,588.00       1,588.12        1,588.12        1,588.12                   .00
AMERICAN INFOSOURCE LP AS AGENT FOR
                                Unsecured                           967.00         470.32          470.32           470.32                  .00
AMERICREDIT FINANCIAL SERVICES, INC
                                  Secured                        14,444.00      14,508.27       14,508.27               .00                 .00
BSI FINANCIAL SERVICES                       Secured            151,586.00     153,194.44      153,194.44               .00                 .00
BSI FINANCIAL SERVICES                       Secured             14,437.00      16,715.80       16,715.80       16,715.80                   .00
BSI FINANCIAL SERVICES                       Unsecured                    NA           NA              NA               .00                 .00
CHASE HOME FINANCE, LLC                      Unsecured                    NA           NA              NA               .00                 .00
CREDIT BUREAU CENTRAL (BAD ADDRESS)
                                Unsecured                                 NA           NA              NA               .00                 .00
JAMES B. BALL, ESQ.                          Unsecured                    NA           NA              NA               .00                 .00




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                                  UNITED STATES BANKRUPTCY COURT
                                                        DISTRICT OF NEVADA


In re: SUSY J. VALDESPIN                                                                                Case No.: 13-52342-BTB

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim               Claim           Claim         Principal           Interest
Name                                       Class              Scheduled           Asserted        Allowed       Paid                Paid
RENOWN REGIONAL MEDICAL CENTER Unsecured                           187.00              NA              NA              .00                 .00

 Summary of Disbursements to Creditors:                                                           Claim         Principal           Interest
                                                                                                  Allowed       Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                         153,194.44             .00                  .00
     Mortgage Arrearage:                                                                        16,715.80       16,715.80                  .00
     Debt Secured by Vehicle:                                                                   14,508.27             .00                  .00
     All Other Secured:                                                                               .00             .00                  .00
 TOTAL SECURED:                                                                                184,418.51       16,715.80                  .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00             .00                 .00
     Domestic Support Ongoing:                                                                         .00             .00                 .00
     All Other Priority:                                                                               .00             .00                 .00
 TOTAL PRIORITY:                                                                                       .00             .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                      2,058.44       2,058.44                  .00

 Disbursements:
        Expenses of Administration:                                                             $4,513.95
        Disbursements to Creditors:                                                            $18,774.24
 TOTAL DISBURSEMENTS:                                                                                                            $23,288.19

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     07/11/2019                                     By:   /s/William A. Van Meter
                                                                                  Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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0526-4V-EPIEXX-00020657-273601        United States Bankruptcy Court
                                                           District of Nevada




     In Re:                                                                                CASE NO: 13-52342-BTB
     SUSY J. VALDESPIN                                                                     CHAPTER 13
                  Debtor(s)                                                                CERTIFICATE OF SERVICE




                  07/15/2019
            On ______________ I served the CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
     by United States mail, postage fully prepaid to the persons on the attached list.

            I declare under penalty of perjury that the foregoing is true and correct.




             Dated:      07/15/2019




                                                         /s/ Bill Van Meter
                                                         Bill Van Meter
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0526-4V-EPIEXX-00020657-273603   United States Bankruptcy Court
                                                  District of Nevada


In Re:                                                                            CASE NO: 13-52342-BTB
SUSY J. VALDESPIN                                                                 CHAPTER 13
                 Debtor(s)                                                        CERTIFICATE OF SERVICE

SUSY J. VALDESPIN
9345 STONEY CREEK WAY RENO, NV 89506
KERRY J. EATON, ESQ.
DRINKWATER LAW OFFICES 5421 KIETZKE LANE, SUITE 100 RENO, NV 89511




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